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AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR A SEARCH WARRANT

I, Terrance L. Taylor, being first duly sworn, hereby depose and state
as follows:

INTRODUCTION AND AGENT BACKGROUND

1. I make this affidavit in support of an application for a
search warrant for information associated with certain accounts that are
stored at premises owned, maintained, controlled, or operated by
Microsoft Corporation (“Microsoft”), an electronic communications
service/remote computing service provider headquartered at 1 Microsoft
Way, Redmond, WA 98052. The information to be searched is described in
the following paragraphs and in Attachment A. This affidavit is made in
support of an application for a search warrant under 18 U.S.C.
§§ 2703 (a), 2703(b) (1) (A), and 2703(c) (1) (A) to require Microsoft to
disclose to the government records and other information in its
possession pertaining to the subscriber or customer associated with the
account(s) identified in Attachment A, including the contents of
communications.

2. I am a Special Agent with the United States Department of
Homeland Security, Homeland Security Investigations (“HSI”). I have been
so employed since March 2012. I am currently assigned to the Office of
the Resident Agent in Charge, HSI Charleston, West Virginia. During my
career, I gained experience in conducting investigations involving
computers and the procedures that are necessary to retrieve, collect,
and preserve electronic evidence. Through my training and experience,
including on-the-job discussions with other law enforcement agents and

cooperating suspects, I am familiar with the operational techniques and

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organizational structure of child pornography distribution networks as
well as the traits and characteristics of child pornography collectors
and possessors and their use of computers or other electronic and media
devices to facilitate the collection, possession, trade, distribution,
access, and receipt of child pornographic materials.

3. T am a Special Agent with twenty-two years of federal law
enforcement experience. Prior to my employment with HSI, I was a Police
Officer for two years in Huntington, West Virginia, a Special Agent with
the United States Department of State Bureau of Diplomatic Security for
six years, a Special Agent with the Naval Criminal Investigative Service
for two years, and a Special Agent with the United States Department of
State Office of Inspector General for two years. I am a graduate of three
federal law enforcement academies at the Federal Law Enforcement Training
Center and a graduate of the West Virginia State Police Academy. I
graduated from the Criminal Investigator Training Program in 2002, and
the Immigration and Customs Enforcement Special Agent Training Program
in 2012. As part of these programs, I received extensive training in the
areas of law within the jurisdiction of HSI. These areas include laws
and regulations pertaining to the importation of various types of
merchandise and contraband, prohibited items, money laundering, and
various immigration violations. I have more specifically received
training in the areas of child pornography and the sexual exploitation
and abuse of children. This training includes specialized instruction
on how to conduct criminal investigations related to violations of child
protection laws pursuant to Title 18, United States Code, Sections 2251,

2252, 2252A, and 2256.

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4. The facts in this affidavit come from my _ personal
observations, my training and experience, and information obtained from
other agents and witnesses. This affidavit is intended to show merely
that there is sufficient probable cause for the requested warrant and
does not set forth all of my knowledge about this matter.

5. Based on my training and experience and the facts as set forth
in this affidavit, there is probable cause to believe that violations
of 18 U.S.C. § 2252A have been committed by Jason Doliver McSWEENEY.
There is also probable cause to search the information described in
Attachment A for evidence, instrumentalities, contraband, and/or fruits
of these crimes further described in Attachment B.

JURISDICTION

6. This Court has jurisdiction to issue the requested warrant
because it is “a court of competent jurisdiction” as defined by 18 U.S.C.
§ 2711. 18 U.S.C. § 2703(a), (b) (1) (A), & (c) (1) (A). Specifically, the
Court is “a district court of the United States .. . that has
jurisdiction over the offense being investigated.” 18 U.S.C.
§ 2711(3) (A) (i).

STATUTORY AUTHORITY

7. This investigation concerns alleged violations of 18 U.S.C.

§ 2252A(a) relating to material involving the sexual exploitation of
minors.

a. 18 U.S.C. § 2252A(a) (1) prohibits a person from

knowingly transporting or shipping child pornography through the

mail or in interstate or foreign commerce by any means, including

by computer.

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b. 18 U.S.C. § 2252A(a) (2) prohibits knowingly receiving
or distributing child pornography using any means or facility of
interstate or foreign commerce, or that has been mailed, or has
been shipped or transported in or affecting interstate or foreign
commerce by any means, including by computer.

Cc. 18 U.S.C. § 2252A(a) (5) (B) prohibits the knowing
possession or access with intent to view child pornography that
has been mailed or shipped or transported using any means or
facility of interstate or foreign commerce or in or affecting
interstate or foreign commerce by any means, including by computer,
or that was produced using materials that have been mailed, or
shipped or transported in or affecting interstate or foreign

commerce by any means, including by computer.

DEFINITIONS
8. The following definitions apply to this Affidavit and
Attachment B:
a. “Child Erotica” means materials or items that are

sexually arousing to persons having a sexual interest in minors
but that are not necessarily, in and of themselves, obscene or that
do not necessarily depict minors in sexually explicit poses or
positions.

b. “Child Pornography” includes any visual depiction of
sexually explicit conduct where (a) the production of the visual
depiction involves the use of a minor engaged in sexually explicit
conduct; (b) the visual depiction is a digital image, computer

image, or computer-generated image that is, or is indistinguishable

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from, that of a minor engaged in sexually explicit conduct; or (c)
the visual depiction has been created, adapted, or modified to
appear that an identifiable minor is engaged in sexually explicit
conduct. See 18 U.S.C. § 2256(8).

Cc. “Child Sexual Abuse Material” (“CSAM’) has the same
meaning as “child pornography.”

d. “Computer” refers to “an electronic, magnetic, optical,
electrochemical, or other high-speed data processing device
performing logical or storage functions and includes any data
storage facility or communications facility directly related to or
operating in conjunction with such device.” See 18 U.S.C.
§ 1030 (e) (1).

e. “Computer hardware” consists of all equipment that can
receive, capture, collect, analyze, create, display, convert,
store, conceal, or transmit electronic, magnetic, or similar
computer impulses or data. Computer hardware includes any data-
processing devices (including, but not limited to, central
processing units, internal and peripheral storage devices such as
fixed disks, external hard drives, floppy disk drives and
diskettes, and other memory storage devices); peripheral
input/output devices (including, but not limited to, keyboards,
printers, video display monitors, and related communications
devices such as cables and connections); as well as any devices,
mechanisms, or parts that can be used to restrict access to computer

hardware (including, but not limited to, physical keys and locks).

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f. “Computer passwords and data security devices” consist
of information or items designed to restrict access to or hide
computer software, documentation, or data. Data security devices
may consist of hardware, software, or other programming code. A
password (a string of alpha-numeric characters) usually operates
what might be termed a digital key to “unlock” particular data
security devices. Data security hardware may include encryption
devices, chips, and circuit boards. Data security software of
digital code may include programming code that creates “test” keys
or “hot” keys, which perform certain pre-set security functions
when touched. Data security software or code may also encrypt,
compress, hide, or “booby-trap” protected data to make it
inaccessible or unusable, as well as reverse the progress to
restore it.

g. “Computer-related documentation” consists of written,
recorded, printed, or electronically stored material that explains
or illustrates how to configure or use computer hardware, computer
software, or other related items.

h. “Computer software” is digital information that can be
interpreted by a computer and any of its related components to
direct the way it works. Computer software is stored in electronic,
magnetic, or other digital form. It commonly includes programs to
run operating systems, applications, and utilities.

i. “Mobile computing devices” are handheld electronic
devices used for storing data (such as names, addresses, music,

photographs, appointments, or notes) and utilizing computer

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programs. Some mobile computers also function as wireless
communication devices and are used to access the Internet and send
and receive e-mail. Mobile computers often include a memory card
or other removable storage media for storing data and a keyboard
and/or touch screen for entering data. Removable storage media
include various types of flash memory cards or miniature hard
drives. This removable storage media can store any digital data.
Many users of these devices also use cloud storage applications to
store data such as images and videos in order to back up data,
duplicate data in order to access data from other devices, or to
free up space on their device. Most mobile computers run computer
software, giving them many of the same capabilities as personal
computers. For example, mobile computer users can work with word-
processing documents, spreadsheets, presentations, internet
browsing and chat applications. Mobile computers may also include
global positioning system (“GPS”) technology for determining the
location of the device. Mobile computing devices include, but are
not limited to, laptops, tablets, and smartphones. This type of
device has capabilities that allow it to serve as a wireless
telephone, digital camera, portable media player, GPS navigation
device, and a mobile computer. As the amount of data that people
store on their mobile devices has increased, smartphones and other
mobile computing devices are also commonly synched with, or
connected to, a desktop or laptop computer for backup data storage.

This allows users to access selected data, such as photos, emails,

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contacts, and documents, across multiple devices, or to recover
this data if their mobile device is broken or lost.

4. A “wireless telephone” (or mobile telephone, cellular
telephone, or smartphone) is a handheld wireless device used for
voice and data communication through radio signals. These
telephones send signals through networks of
transmitters/receivers, enabling communication with other wireless
telephones or traditional “land line” telephones. A wireless
telephone usually contains a “call log,” which records the
telephone number, date, and time of calls made to and from the
phone. In addition to enabling voice communications, wireless
telephones offer a broad range of capabilities. These capabilities
include storing names and phone numbers in electronic “address
books”; sending, receiving, and storing text messages and e-mail;
taking, sending, receiving, and storing still photographs and
moving video; storing and playing back audio files; storing dates,
appointments, and other information on personal calendars; and
accessing and downloading information from the Internet. Wireless
telephones may also include GPS technology for determining the
location of the device.

k. “Internet Protocol address” or “IP address” refers to a
unique number used by a computer to access the Internet. IP
addresses can be dynamic, meaning that the Internet Service
Provider (“ISP”) assigns a different unique number to a computer

every time it accesses the Internet. IP addresses might also be

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static, if an ISP assigns a user’s computer a particular IP address
that is used each time the computer accesses the Internet.

i. “Minor” means any person under the age of 18 years. See
18 U.S.C. § 2256(1).

m. “Visual depictions” include undeveloped film = and
videotape, and data stored on computer disk or by electronic means,
which is capable of conversion into a visual image. See 18 U.S.C.
§ 2256(5).

n. The terms “records,” “documents,” and “materials”
include all information recorded in any form, visual or aural, and
by any means, whether in handmade form (including, but not limited
to, writings, drawings, paintings), photographic form (including,
but not limited to, microfilm, microfiche, prints, slides,
negatives, videotapes, motion pictures, photocopies); mechanical
form (including, but not limited to, phonograph records, printing,
typing); or electrical, electronic, or magnetic form (including,
but not limited to, tape recordings, cassettes, compact discs,
electronic or magnetic storage devices such as floppy diskettes,
hard disks, CD-ROMs, digital video disks (“DVDs”), Multi Media
Cards (“MMCs”), memory sticks, optical disks, printer buffers,
smart cards, or electronic notebooks, as well as digital data files
and printouts or readouts from any magnetic, electrical or
electronic storage device).

BACKGROUND ON COMPUTERS AND CHILD PORNOGRAPHY

9. Based on my knowledge, training, and experience in child

exploitation and child pornography investigations, and the experience

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and training of other law enforcement officers with whom I have had
discussions, computers, computer technology, and the Internet have
revolutionized the manner in which child pornography is possessed,
produced, and distributed. Computers basically serve four functions in
connection with child pornography: production, communication,
distribution, and storage.

a. Child pornographers can convert images into a computer-
readable format with a scanner. With digital cameras, to include
cellular telephones or tablets equipped with cameras, the images
can be transferred directly onto a computer. A modem allows any
computer to connect to another computer through the use of
telephone, cable, or wireless connection. Through the Internet,
electronic contact can be made to literally millions of computers
around the world.

b. The computer’s ability to store images in digital form
makes the computer itself an ideal repository for child
pornography. The size of the electronic storage media (commonly
referred to as the hard drive) used in home computers has grown
tremendously within the last decade. These drives can store
hundreds of thousands of images at very high resolution. The same
is true for mobile computing devices.

c. The Internet affords collectors of child pornography
several different venues for obtaining, viewing, and trading child
pornography in a relatively secure and anonymous fashion.
Collectors and distributors of child pornography also use online

resources to retrieve and store child pornography, including

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services offered by Internet Portals such as Yahoo! and Gmail,
among others. The online services allow a user to set up an account
with a remote computing service that provides e-mail services as
well as electronic storage of computer files in any variety of
formats. A user can set up an online storage account from any
computer with access to the Internet. Evidence of such online
storage of child pornography is often found on the user’s computer.
Even in cases where online storage is used, evidence of child
pornography can be found on the user’s computer in most cases.

d. As with most digital technology, communications made
from a computer or mobile computing device are often saved or
stored on that computer/device. Storing this information can be
intentional, for example, by saving an e-mail as a file on the
computer or saving the location of one’s favorite websites in
“bookmarked” files. Digital information can also be retained
unintentionally. Traces of the path of an electronic communication
may be automatically stored in many places, such as temporary files
or ISP client software, among others. In addition to electronic
communications, a computer user’s Internet activities generally
leave traces in a computer’s web cache and Internet history files.
Such information is often maintained indefinitely until overwritten
by other data.

PEER TO PEER FILE-SHARING

10. Peer to Peer (“P2P”) file-sharing allows individuals to meet
each other through the Internet, engage in social networking, and trade

files.

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11. P2P file-sharing is a method of communication available to
Internet users through the use of special computer software. Computers
are linked together through the Internet on this network, and using this
software allows for the sharing of digital files between users on the
network. A user first obtains the P2P computer software, which can be
downloaded from the Internet. In general, P2P computer software allows
the user to set up file(s) on a computer to be shared with others running
compatible P2P software.

12. One aspect of P2P file-sharing is that multiple files may be
downloaded in parallel, which permits downloading more than one file at
a time. The software utilized to download files from P2P networks will
only download from a single source via a direct connection to that
computer.

13. A P2P file transfer is assisted by reference to an IP address.
This address, expressed as four sets of numbers separated by decimal
points, is unique to the particular Internet connection being used by a
particular computer during an online session. The IP address identifies
the location of the computer with which the address is associated, making
it possible for data to be transferred between computers.

14. The computer running the file-sharing application, in this
case a BitTorrent application, had an IP address assigned to it while
it was connected to the Internet. BitTorrent users are able to see the
IP address of any computer system that shares or receives files from
them.

15. Third-party software is available to identify the IP address

of the P2P computer sending a file. Such software monitors and logs

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Internet and local network traffic. The BitTorrent network can be
accessed by peer/client computers via many different BitTorrent network
client (software) programs, examples of which include: the BitTorrent
client program; uTorrent client program; and Vuze client program, among
others.

16. These client programs are publicly available and typically
are free P2P client software programs that can be downloaded from the
Internet.

17. During the installation of typical BitTorrent network client
programs, various settings are established which configure the host
computer to share files via automatic uploading. Typically, as users
download files or pieces of files from other peers/clients on the
BitTorrent network, other users (peers/clients) on the network are able
to download the files or pieces of files from them, a process which
maximizes the download speeds for all users on the network. Once a user
has completed the download of an entire file or files, they can also
continue to share the file with individuals on the BitTorrent network
who are attempting to download all pieces of the file or files, a process
referred to as “seeding.”

18. Files or sets of files are shared on the BitTorrent network
via the use of “Torrents.” A “Torrent” is typically a small file that
describes the file(s) to be shared. It is important to note that a
“Torrent” does not contain the actual file(s) to be shared, but
information about the file(s) to be shared needed to complete a download.
This information includes things such as the name(s) of the file(s) being

referenced in the “Torrent” and the “info hash” of the “Torrent.” The

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“info hash” is a MD5 hash value of the set of data describing the file(s)
referenced in the “Torrent.” This set of data includes the MD5 hash value
of each file piece in the torrent, the file size(s), and the file name(s).
The “info hash” of each “Torrent” uniquely identifies the “Torrent” on
the BitTorrent network. The “Torrent” may also contain information on
how to locate file(s) referenced in the “Torrent” by identifying

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“Trackers.” “Trackers” are computers on the BitTorrent network that
collate information about the peers/clients that have recently reported
they are sharing the file(s) referenced in the “Torrent” file. A
“Tracker” is only a pointer to peers/clients on the network who may be
sharing part or all the file(s) referenced in the “Torrent.” “Trackers”
do not actually have the file(s) but are used to facilitate the finding
of other peers/clients that have the entire file(s) or at least a portion
of the file(s) available for sharing. It should also be noted that the
use of “Tracker(s)” on the BitTorrent network is not always necessary
to locate peers/clients that have file(s) being shared from a particular
“Torrent.” There are many publicly available servers on the Internet
that provide BitTorrent tracker services.

19. In order to locate “Torrents” of interest and download the
files that they describe, a typical user will use keyword searches on
torrent indexing websites, examples of which include isohhunt.com and
thepiratebay.org. Torrent indexing websites are essentially search
engines that users on the BitTorrent network use to locate “Torrents”
that describe the files they seek to download. Torrent indexing websites
do not actually host the content (files) described by “Torrents,” only

the “Torrents” themselves. Once a “Torrent” is located on the website

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that meets a user’s keyword search criteria, the user will download the
“Torrent” to their computer. The BitTorrent network client program on
the user’s computer will then process that “Torrent” in order to find
“Trackers” or utilize other means that will help facilitate finding other
peers/clients on the network that have all or part of the file(s)
veferenced in the “Torrent.” It is again important to note that the
actual file(s) referenced in the “Torrent” are actually obtained directly
from other peers/clients on the BitTorrent network and not the “Trackers”
themselves. Typically, the “Trackers” on the network return information
about remote peers/clients that have recently reported they have the
same file(s) available for sharing (based on MD5 “info hash” value
comparison), or parts of the same file(s), referenced in the “Torrent,”
to include the remote peers’/clients’ IP addresses.

20. For example, a person interested in obtaining child
pornographic images or videos on the BitTorrent network can go to a
Torrent indexing website and conduct a keyword search using a term such
as "preteen sex” or “pthc” (pre-teen hardcore). The results of the
keyword search are typically returned to the user's computer by
displaying them on the Torrent indexing website. Based on the results
of the keyword search, the user would then select a “Torrent” of interest
to them to download to their computer from the website. Typically, the
BitTorrent client program will then process the “Torrent.” Utilizing
trackers and other BitTorrent network protocols, peers/clients are
located that have recently reported they have the file(s) or parts of
the file(s) referenced in the “Torrent” file available for sharing. The

file or files are then downloaded directly from the computer(s) sharing

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the file or files. Typically, once the BitTorrent network client has
downloaded part of a file or files, it may immediately begin sharing the
part of the file or files it has with other users on the network. The
BitTorrent network client program succeeds in reassembling the file(s)
from different sources only if it receives “pieces” with the exact MD5
hash value of that piece which is described in the “Torrent.” The
downloaded file or files are then stored in an area (folder) previously
designated by the user and/or the client program on the user’s computer
or designated external storage media. The downloaded file or files,
including the “Torrent,” will remain in that location until moved or
deleted by the user.

21. Law enforcement can search the BitTorrent network in order to
locate individuals sharing previously identified child exploitation
material in the same way a user searches this network. To search the
network for these known “Torrents,” law enforcement can quickly identify
targets in their jurisdiction. Law enforcement receives this information
from “Trackers” about peers/clients on the BitTorrent network recently
reporting that they are involved in sharing digital files of known or
suspected child pornography, based on “info hash” MD5 hash values of
“Torrents.” These “Torrents” being searched for are those that have been
previously identified by law enforcement as being associated with such
files.

22. There are BitTorrent network client programs which allow for
single-source downloads from a computer at a single IP address, meaning
that an entire file or files are downloaded only from a computer at a

single IP address as opposed to obtaining the file from multiple

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peers/clients on the BitTorrent network. This procedure allows for the
detection and investigation of those computers involved in sharing
digital files of known or suspected child pornography on the BitTorrent
network.

23. During the query and/or downloading process from a suspect
BitTorrent network client, certain information may be exchanged between
the investigator's BitTorrent client program and the suspect client
program they are querying and downloading a file from. This information
includes: 1) The suspect client’s IP address; 2) A confirmation from the
suspect client that they have pieces of the file(s) being requested, in
whole or in part, and that the pieces of the file(s) are being reported
as shared from the suspect client program; and 3) The BitTorrent network
client program and version being utilized by the suspect computer. Third-
party software available to law enforcement has the ability to log this
information.

BACKGROUND OF THE INVESTIGATION AND PROBABLE CAUSE

24. On or about January 11, 2023, Parkersburg Police Department
Detective Daniel Miller, a law enforcement officer assigned to the West
Virginia Internet Crimes Against Children (“ICAC”) Task Force and the
Violent Crimes Against Children (“VCAC”) Task Force, initiated an
Internet-based investigation to identify persons possessing and
participating in the trafficking of child pornography using the
BitTorrent P2P network.

25. During this investigation, investigators examined records
from a law enforcement program used to monitor P2P downloads on

BitTorrent and located IP addresses associated with a computer believed

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to be in the vicinity of Huntington, West Virginia, that had been
previously identified through investigative processes as containing
digital media files believed to be child pornography. The IP addresses
were identified as 73.152.138.46 and 76.26.77.74 (the “target IP
addresses”).

26. The program further indicated that IP address 73.152.138.46
had been logged as possessing, via a P2P file sharing program, two (2)
digital media files of suspected child pornography between January 11,
2023, 9:05 PM EST, and January 13, 2023, 1:57 PM EST.

27. The two (2) files, one consisting of seventy-eight (78) pieces
and the other of three hundred eighty-seven (387) pieces, were
successfully downloaded from IP address 73.152.138.46. The device at IP
address 73.152.138.46 was the only IP address which shared the contents
for each file downloaded, whether completed or not, and as such, each
file was downloaded directly from this IP address. Both of the files
being shared that Detective Miller downloaded clearly constitute child
pornography whether in part or in whole. The following files were viewed
by Detective Miller and can be described as follows:

a. “mov_0216.mp4” This video file depicts two (2) female
prepubescent children lying on a green-colored couch/bench. One
child is laying on her back with the other child laying on her back
on top of the other child. An adult male penis can be seen
penetrating the vagina of the child on the bottom and then
penetrating the vagina of the child on top.

b. “(G)Paradise Birds Anna & Nelly BDSM p6é recode.avi” This

video file depicts two (2) female prepubescent children in a

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bedroom near a bed. One of the children takes her top and bottom

off and lays on the bed while the other clothed child ties her

wrists to the headboard with pieces of rope.

28. On or about January 30, 2023, Detective Miller filed and
submitted an administrative subpoena requesting subscriber information
from Comcast Cable Communications, the ISP responsible for IP address
73.152.138.46. On the dates and times when the child pornography files
were downloaded by Detective Miller, the subscriber to IP address
73.152.138.46 was “Paris Sweeney,” with an address of “223 31st Street
W, Huntington, WV 257041201.”

29. Between March 17, 2023, 2:26 AM EST, and May 12, 2023, 6:24
PM EST, Detective Miller again initiated an Internet-based investigation
to identify persons possessing and participating in the trafficking of
child pornography using the BitTorrent computer network using the same
law enforcement program.

30. During that time frame, multiple connections were made
between Detective Miller’s investigative computer and a
computer/computing device running BitTorrent software having an assigned
IP address of 76.26.77.74. Seven (7) files were successfully downloaded
in whole or in part from IP address 76.26.77.74. The device at IP address
76.26.77.74 was the only IP address which shared the contents for each
file downloaded, whether completed or not, and as such, each file was
downloaded directly from this IP address. All the files being shared
that Detective Miller downloaded clearly constitute child pornography
whether in part or in whole. The following files were viewed by Detective

Miller and can be described as follows:

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a. ‘000098 avi” This video file depicts a prepubescent female
child being vaginally penetrated by an adult male’s penis and a
dildo.

b. “000238.mp4” This video file depicts a prepubescent female
child being vaginally penetrated by an aduit male’s penis. The
child can be heard crying in pain as the adult male’s penis
penetrates her vagina.

c. “001066.wmv” This video file depicts a prepubescent,
unknown gender, child being anally penetrated by an adult male’s
penis. The child can be heard crying in pain as the adult male’s
penis penetrates their anus.

d. “001712.wmv” This video file depicts a prepubescent female
child being vaginally penetrated by an adult male’s penis. The male
ejaculates on the child’s vagina.

e. “001720.AVI” This video file depicts a prepubescent female
child being vaginally penetrated by an adult male’s penis. The
child has the words “FUCK ME” written on her stomach with an arrow
pointing toward her vagina. The video changes to another
prepubescent female child digitally penetrating her own vagina
while saying “fuck my pussy” to the camera.

f. “tt! New 2006 !!! Guatemala 9Yo Nena De La Calle (Sopp2)
{Rare Reel Fck Good} (Kleuterkutje) (Pedo) (Ptsc) Very Good (Pthc)
12Y American Indian Girl Fucked.avi” This video file depicts a
prepubescent female child laying in the backseat of a vehicle while

being vaginally penetrated by an adult male’s penis. The child can

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be heard crying in pain as the adult male’s penis penetrates her
vagina.

g. “OPVA PTHC 2015 llyo and uncle best anal fuck creampie

anally penetrated by an adult male’s penis. The child can be heard

erying as the adult male’s penis penetrates her and ejaculates in

her anus.

31. On or about March 28, 2023, Detective Miller filed and
submitted an administrative subpoena requesting subscriber information
from Comcast Cable Communications, the ISP responsible for IP address
76.26.77.74. On the dates and times when the child pornography files
were downloaded by Detective Miller, the subscriber to IP address
76.26.77.74 was “Paris Sweeney,” with an address of “223 31st Street W,
Huntington, WV 257041201.”

32. On or about November 13, 2023, Detective Miller contacted
your Affiant regarding the child pornography investigation utilizing the
BitTorrent P2P file-sharing program. Your Affiant subsequently conducted
record checks on the address 223 West 31st Street, Huntington, Wayne
County, West Virginia 25704, and identified the residents as Jason
Doliver McSWEENEY and his mother, whose identity is known to
investigators but who shall be referred to herein as “D.M.” Your Affiant
conducted a criminal record check for Jason Doliver McSWEENEY and found
numerous arrests for domestic violence and burglary; at the time, his
most recent arrest was on October 30, 2023, for domestic violence.

33. On or about November 16, 2023, your Affiant and HSI Special

Agent (“SA”) Christopher Yarnell conducted a voluntary interview with

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D.M. at her residence located at 223 West 31st Street, Huntington, Wayne
County, West Virginia 25704. Your Affiant advised D.M. that a child
exploitation investigation was associated with her IP address within the
residence. D.M. agreed to be interviewed regarding the investigation. A
summary of D.M.’s statements during the interview is contained in
paragraphs 34 through 37 herein.

34. D.M. advised that her husband, Paris McSweeney, died a few
years ago and only herself and her son, Jason McSWEENEY, resided in her
house. She had Comcast as her internet service provider, and her wi-fi
router was password protected. No other people visited her residence,
and no one else had the router password except for her son, Jason.

35. Jason had bi-polar disorder and was not currently on any
medication. He did not work or collect Social Security disability. Their
income consisted of her husband's pension and Social Security benefits.
Jason was recently arrested for domestic violence and was incarcerated.
She expected to testify in court on December 6, 2023, regarding his
arrest.

36. D.M. had a desktop computer in her family room, next to the
front door of her residence, and a personal cellphone. She was not aware
of Jason viewing child pornography, but she acknowledged he watched
videos on the desktop computer and an Amazon tablet. However, she did
not know what he watched because she was legally blind and would not be
able to view any images on the computer.

37. D.M. further stated that Jason had one of her old cellphones
and one of her old Amazon tablets in his bedroom. She allowed your

Affiant and SA Yarnell to look in Jason’s room to find his electronic

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devices. Your Affiant asked D.M. if she would sign a Consent to Search
form regarding the desktop computer, her old cellphone, and her old
Amazon tablet. She subsequently agreed to allow HSI Charleston to conduct
a computer forensic review of the aforementioned items by signing the
document. Your Affiant provided D.M. an inventory of the three items to
be taken for a computer forensic review.

38. Because D.M. had represented during the interview that the
cellphone and Amazon tablet were used by her son, on or about May 28,
2024, HSI Charleston obtained a federal search warrant for those devices.
HSI Charleston conducted a computer forensic review of the cellphone and
the Amazon tablet and found no Child Sexual Abuse Material (CSAM).

39. On or about October 3, 2024, HST Charleston Computer Forensic
Analyst (“CFA”) Leland Pickering submitted a Digital Forensic
Examination Report pertaining to his review of the desktop computer. CFA
Pickering identified 5,533 images and 9 videos of suspected CSAM and/or
child erotica on the desktop computer. CFA Pickering also identified
four Microsoft email addresses associated with the BitTorrent software
and/or the web browsers used to search for CSAM:
jsnmcsweeney@outlook.com, jsnmcsweeneyl@outlook.com,
jsndivmcs@outlook.com, and fortextnowj}snmcs@outlook.com.

BACKGROUND CONCERNING MICROSOFT

40. Microsoft provides its users cloud-based accounts that allow
users cloud access from internet~connected devices to send, receive, and
store emails online. Microsoft accounts are typically identified by a

single login, which typically derives from a subscriber’s email address.

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41. Based on my training and experience, I have knowledge that
Microsoft allows subscribers to obtain accounts by registering on
Microsoft via an email address. During the registration process,
Microsoft may ask subscribers to create a username and password, and to
provide basic personal information such as a name, an alternate email
address for backup purposes, a telephone number, and in some cases a
means of payment.

42. Thus, a subscriber’s Microsoft account can be used to store
email, other types of electronic communication, including instant
messaging, photo and video sharing, voice calls, video chats, SMS text
messaging, and social networking, contacts, calendar data, images,
videos, notes, documents, bookmarks, web searches, browsing history, and
various other types of information on cloud-based servers. Based on my
training and experience, I have knowledge that evidence of who
controlled, used, and/or created a Microsoft account may be found within
such computer files and other information created or stored by the
Microsoft subscriber. I also have knowledge that the types of data
discussed above can include records and communications that constitute
evidence of criminal activity.

43. Based on my training and experience, I know that providers
such as Microsoft also collect and maintain information about their
subscribers, including information about their use of Microsoft
services. This information can include the date on which the account was
created, the length of service, records of log-in (i.e., session) times
and durations, the types of service utilized, the status of the account

(including whether the account is inactive or closed), the methods used

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to connect to the account (such as logging into the account via a
Microsoft login), and other log files that reflect usage of the account.
Providers such as Microsoft also commonly have records of the IP address
used to register the account and the IP addresses associated with other
logins to the account. Because every device that connects to the Internet
must use an IP address, IP address information can help to identify which
devices were used to access the relevant account. Also, providers such
as Microsoft typically collect and maintain location data related to
subscriber’s use of Microsoft services, including data derived from IP
addresses and/or GPS data.

44, Based on my training and experience, I have knowledge that
providers such as Microsoft also collect information relating to the
devices used to access a subscriber’s account, such as laptop or desktop
computers, cell phones, and tablet computers. Such devices can be
identified in various ways. For example, some identifiers are assigned
to a device by the manufacturer and relate to the specific machine or
“hardware,” some identifiers are assigned by a telephone carrier
concerning a particular user account for cellular data or voice services,
and some identifiers are actually assigned by Microsoft in order to track
what devices are using Microsoft's accounts and services. Examples of
these identifiers include unique application number, hardware model,
operating system version, Global Unique Identifier (“GUID”), device
serial number, mobile network information, telephone number, Media
Access Control (“MAC”) address, and International Mobile Equipment
Identity (“IMEI”). Based on my training and experience, I further submit

that such identifiers may constitute evidence of the offense under

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investigation because they can be used (a) to find other Microsoft
accounts created or accessed by the same device and likely belonging to
the same user, (b) to find other types of accounts linked to the same
device and user, and (c) to determine whether a particular device
recovered during course of the investigation was used to access the
Microsoft account.

45. Based on my training and experience, I have knowledge that
providers such as Microsoft use cookies and similar technologies to track
users’ web history through use of cookies. Basically, a “cookie” is a
small file containing a string of characters that a website attempts to
place onto a user’s device. When that device visits again, the website
will recognize the cookie and thereby identify the same user who visited
before. This sort of technology can be used to track users across
multiple websites and online services belonging to Microsoft. More
sophisticated cookie technology can be used to identify users across
devices and web browsers. From my training and experience, I have
knowledge that cookies and similar technology used by providers such as
Microsoft may constitute evidence of the offense under investigation.
By linking various accounts, devices, and online activity to the same
user or users, cookies and linked information can help identify who was
using a Microsoft account and determine the scope of criminal activity.

46. Based on my training and experience, I have knowledge that
Microsoft may maintain records that can link different Microsoft accounts
to one another, by virtue of common identifiers, such as common email
addresses, common telephone numbers, common device identifiers, common

computer cookies, and common names or addresses, that can show a single

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person, or single group of persons, used multiple Microsoft accounts.
Based on my training and experience, I also know that evidence concerning
the identity of such linked accounts can be useful evidence in
identifying the person or persons who have used a particular Microsoft
account.

47. Based on my training and experience, I have knowledge that
subscribers can communicate directly with Microsoft about issues
relating to the account, such as technical problems, billing inquiries,
or complaints from other users. Providers such as Microsoft typically
retain records about such communications, including records of contacts
between the user and the provider’s support services, as well as records
of any actions taken by Microsoft or the user as a result of the
communications. I further submit that such information may constitute
evidence of the offense under investigation because the information can
be used to identify the account’s user or users.

48. In summary, based on my training and experience in this
context, I believe that the computers of Microsoft are likely to contain
user-generated content such as stored electronic communications
(including retrieved and unretrieved email for Microsoft subscribers),
as well as Microsoft-generated information about its subscribers and
their use of Microsoft serves and other online services. In my training
and experience, all of that information may constitute evidence of the
offense under investigation because the information can be used to
identify the account’s user or users. In fact, even if subscribers

provide Microsoft with false information about their identities, that

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false information often nevertheless provides clues to their identities,
locations, or illicit activities.

INFORMATION TO BE SEARCHED AND THINGS TO BE SHIZED

49. I anticipate executing this warrant under the Electronic
Communications Privacy Act, in particular 18 U.S.C. §§ 2703(a),
2703 (b) (1) (A), and 2703(c) (1) (A), by using the warrant to require
Microsoft to disclose to the government copies of the records and other
information (including the content of communications) particularly
described in Section I of Attachment B. Upon receipt of the information
described in Section I of Attachment B, government-authorized persons
will review that information to locate the items described in Section
II of Attachment B.

CONCLUSION
50. Based on the foregoing, I request that the Court issue the

proposed search warrant.

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51. Pursuant to 18 U.S.C. § 2703(g), the presence of a law
enforcement officer is not required for the service or execution of this
warrant. The government will execute this warrant by serving the warrant
on Microsoft. Because the warrant will be served on Microsoft, which
will then compile the requested records at a time convenient to it,
reasonable cause exists to permit the execution of the requested warrant

at any time in the day or night.

Further your affiant sayeth not.

Lonel Yr

TERRANCE L. WAYLOR
SPECIAL AGENT
HOMELAND SECURITY INVESTIGATIONS

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Signed and sworn to by telephonic means on this 3 day of

December, 2024.

/
JOSEPH| K. REEDER
UNITED) STATES MAGISTRATE JUDGE

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